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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF PENNSYLVANIA

 

 

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UNITED STATES OF AMERICA =|) "3 CRIMINAL DOCKET FOR CASE
- NO. 2-18-CR-00100-PTB-1
-VS-

MICHAEL ROHANA

 

PHILADELPHIA, PA.
APRIL 9, 2019

BEFORE HONORABLE JUDGE PETRESE B. TUCKER

TRIAL - DAY 7

APPEARANCES:

FOR THE GOVERNMENT: U.S. ATTORNEY'S OFFICE
BY K.T. NEWTON, AUSA
615 CHESTNUT STREET, SUITE 1250
PHILADELPHIA, PA 19106

LYNN MCCLOSKEY, RPR
OFFICIAL COURT REPORTER
1234 US COURTHOUSE
601 MARKET STREET
PHILADELPHIA, PA 19106

(856) 649-4774
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APPEARANCES (CONT.)

FOR THE DEFENDANT:

FEDERAL COMMUNITY DEFENDER

BY: CATHERINE C. HENRY, ESQUIRE
AND

NANCY MACEOIN, ESQUIRE

OFFICE - EDPA

SUITE 540W

THE CURTIS CENTER

601 WALNUT STREET

PHILADELPHIA, PA 19106
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(CLERK OPENS COURT.)

THE COURT: GOOD AFTERNOON.

ALL COUNSEL: GOOD AFTERNOON, YOUR HONOR.

THE COURT: YOU MAY BE SEATED.

I BELIEVE THE JURY HAS NOT CHANGED. THEY
ARE DEADLOCKED.

WHAT I AM GOING TO DO AT THIS POINT IS TO
ADDRESS THEM AND SEND THEM BACK. I WOULD RECOMMEND THAT
THE ATTORNEYS THINK ABOUT HOW LONG YOU WANT TO KEEP THE
JURORS TO DELIBERATE. BUT IN THE INTERIM, I WILL JUST
INSTRUCT THEM THAT THEY SHOULD CONTINUE DELIBERATIONS.

OKAY. KIM.

(JURY IN.)

THE COURT: OKAY, YOU MAY BE SEATED.

MEMBERS OF THE JURY, I REALIZE THAT YOU
ARE HAVING SOME DIFFICULTY REACHING A UNANIMOUS
AGREEMENT, BUT THAT IS NOT UNUSUAL. AND OFTEN AFTER
FURTHER DISCUSSIONS JURORS ARE ABLE TO WORK OUT THEIR
DIFFERENCES AND AGREE.

IT IS YOUR DUTY, AS JURORS, TO CONSULT
WITH ONE ANOTHER AND TO DELIBERATE WITH A VIEW TO
REACHING AN AGREEMENT IF YOU CAN DO SO WITHOUT VIOLENCE
TO INDIVIDUAL JUDGMENT. EACH OF YOU MUST DECIDE THE
CASE FOR YOURSELF, BUT DO SO ONLY AFTER IMPARTIAL

CONSIDERATION OF THE EVIDENCE IN THIS CASE WITH YOUR
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FELLOW JURORS.

IN THE COURSE OF YOUR DELIBERATIONS, DO

NOT HESITATE TO REEXAMINE YOUR OWN VIEWS AND CHANGE YOUR

OPINION IF CONVINCED IT IS ERRONEOUS. BUT DO NOT

SURRENDER YOUR HONEST CONVICTION AS TO THE WEIGHT OR THE

EFFECT OF THE EVIDENCE SOLELY BECAUSE OF THE OPINION OF

YOUR FELLOW JURORS OR FOR THE MERE PURPOSE OF RETURNING

A VERDICT. LISTEN CAREFULLY TO WHAT THE OTHER JURORS

HAVE TO SAY, AND THEN DECIDE FOR YOURSELF IF THE

GOVERNMENT HAS PROVEN THE DEFENDANT GUILTY BEYOND A

REASONABLE DOUBT.

WHAT I HAVE JUST SAID IS NOT MEANT TO

RUSH OR PRESSURE YOU INTO AGREEING TO A VERDICT. TAKE

AS MUCH TIME AS YOU NEED TO DISCUSS THINGS. THERE IS NO

HURRY.

WITH THAT INSTRUCTION, I WILL RETURN YOU

TO THE JURY ROOM.

(JURY OUT.)

THE COURT: OKAY. WE ARE IN RECESS.

(JURY CONTINUES TO DELIBERATE.)

THE COURT: OKAY, YOU MAY BE SEATED.

THE JURY HAS INDICATED THAT THEY ARE

UNABLE TO REACH A VERDICT, SO IT'S UP TO COUNSEL WHERE

WE GO FROM HERE.

MS. NEWTON: YOUR HONOR, GIVEN THE JURY
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HAS BEEN TELLING US, I THINK, ALL OF TODAY THAT THEY ARE
UNABLE TO REACH A VERDICT, IT DOES NOT SOUND LIKE THAT
HAS CHANGED. THE GOVERNMENT BELIEVES WE SHOULD NOT ASK
THEM TO DELIBERATE ANY LONGER.

MS. HENRY: MAY WE JUST HAVE A MOMENT,
YOUR HONOR?

THE COURT: YES.

(BRIEF PAUSE IN THE PROCEEDING.)

MS. NEWTON: YOUR HONOR, PERHAPS I SHOULD
NOT HAVE SAID THAT.

MS. HENRY: YOUR HONOR, IS THERE -- I
KNOW THAT YOU CAN DO WHATEVER YOU WANT, BUT IS THERE
SOMETHING THAT YOU CAN ASK IF THERE IS ANYTHING IN
PARTICULAR THAT WOULD HELP THEM? I MEAN, WE ARE CLOSE
TO THE END OF THE DAY, BUT IF THERE IS ANYTHING IN
PARTICULAR OR ANY FURTHER INSTRUCTION OR ANY -- I DON'T
KNOW WHAT, I CANNOT THINK OF ANYTHING, BUT ANYTHING
SPECIFIC THAT WOULD BE HELPFUL. I DON'T KNOW.

THE COURT: WELL, IT SEEMS TO ME THAT
WHAT THE JURORS HAVE INDICATED IS THAT THERE IS NO WAY
THAT THEY ARE GOING TO COME TO AN AGREEMENT. I CAN POLL
THEM, BUT THAT WOULD REVEAL INFORMATION THAT DOES NOT
NEED TO BE REVEALED. I CAN ASK THE FOREPERSON IF IN HER
OPINION SHE FEELS THAT FURTHER DELIBERATIONS WOULD BE

FRUITFUL OR MERITLESS.
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MS. HENRY: OKAY.

MS. MACEOIN: I THINK THAT'S A GOOD
SOLUTION, YOUR HONOR.

MS. NEWTON: NO OBJECTION TO THAT, YOUR
HONOR.

THE COURT: OKAY.

(JURY IN.)

THE COURT: YOU MAY BE SEATED. (

MADAM FOREPERSON, CAN YOU PLEASE STAND.

YOU HAVE TOLD MY COURT OFFICER THAT YOU
DO NOT THINK THAT YOU, THE JURY, WILL AGREE ON A
UNANIMOUS VERDICT, IS THAT CORRECT?

THE FOREPERSON: THAT'S CORRECT.

THE COURT: DO YOU THINK THAT THERE IS
ANY POSSIBILITY THAT CONTINUED DELIBERATIONS WOULD
CHANGE THAT SITUATION?

THE FOREPERSON: I DO NOT.

THE COURTS IS THERE ANYTHING THAT THIS
COURT COULD DO THAT WOULD IMPACT OR CAUSE THE SITUATION
TO CHANGE?

THE FOREPERSON: NO.

THE COURT: I'M GOING TO HAVE SOME
DISCUSSION WITH COUNSEL, SO I AM GOING TO SEND YOU BACK
TO THE JURY ROOM AND WE WILL CALL UPON YOU SHORTLY.

(JURY OUT.)
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THE COURT: LET ME SEE COUNSEL AT

SIDEBAR.

(SIDEBAR DISCUSSION OCCURRED. )

THE COURT: I AM OPEN TO SUGGESTIONS.

MS. NEWTON: YOUR HONOR, FOR THE RECORD,

I WITHDRAW MY EARLIER SUGGESTION AS I SHOULD NOT HAVE

SAID THAT.

MS. HENRY: I DIDN'T KNOW THAT WAS --

OKAY. GOT IT.

MS. MACEOIN: I DON'T KNOW WHAT --

MS. HENRY: CAN YOU THINK OF ANYTHING?

THE COURT: I CAN'T THINK OF ANYTHING WE

CAN DO. THE ONLY ISSUE IS WHETHER OR NOT YOU THINK THEY

HAVE BEEN DELIBERATING LONG ENOUGH.

MS. MACEOIN: IT'S HARD TO SAY. THEY ARE

GOING TO HATE US IF WE MAKE THEM COME BACK, BUT THAT'S

NOT -- IT'S BEYOND OUR CONTROL.

MS. HENRY: I MEAN WE HAVE NOT BEEN --

WHEN KIM HAS COME OUT AND YOU HAVE TOLD US THAT -- I

MEAN, HAS THAT BEEN, LIKE, A CONSISTENT THING, THAT THEY

HAVE BEEN SAYING THAT THEY ARE STUCK?

THE COURT: YESTERDAY THEY SAID THEY WERE

STUCK.

MS. HENRY: I REMEMBER THAT YESTERDAY,

AND NOW TODAY THEY ARE STUCK.
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THE COURT: THEY ARE STUCK. THEY SAID,

THERE IS NO WAY IN HELL THAT WE ARE GOING TO COME TO A

UNANIMOUS VERDICT.

MS. MACEOIN: INTERESTING.

MS. HENRY: THAT'S STUCK.

THE COURT: I DIDN'T WANT TO SAY THAT IN

OPEN COURT, BUT THAT SHOULD BE ON THE RECORD.

MS. MACEOIN: I AM AT A LOSS ABOUT WHAT

ELSE TO DO, YOUR HONOR. I MEAN, IT'S CURIOUS BECAUSE

THEY DID ASK FOR MORE EXHIBITS.

MS. HENRY: WHICH SEEMS THAT THEY ARE

LIKE -- YOU THINK THAT SOME PROGRESS IS MAYBE BEING

MADE, BUT MAYBE NOT.

MS. NEWTON: IT DIDN'T SOUND -- AT LEAST

FROM WHAT THE FOREPERSON SAID, IT SOUNDED LIKE THERE WAS

NO ADDITIONAL PROGRESS WITH THE ADDITIONAL EXHIBITS OR

ANSWERS, BUT...

THE COURT: WE CAN GIVE IT ONE MORE DAY.

MS. MACEOIN: I DON'T KNOW.

MS. HENRY: WHAT DO YOU THINK?

MS. MACEOIN: I MEAN --

MS. HENRY: LET US THINK FOR A SECOND,

JUDGE.

(BRIEF PAUSE THIS THE PROCEEDING.)

THE COURT: THEY HAVE BEEN DELIBERATING
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HOW LONG?

MS. HENRY: SINCE 11 O'CLOCK YESTERDAY.

THE COURT: SO THEY HAVE BEEN
DELIBERATING TEN HOURS, AT LEAST. THE CASE TOOK A WEEK
TO TRY.

MS. NEWTON: SLIGHTLY LESS THAN THAT. WE
HAD TO FINISH EARLY, I THINK, THE FIRST DAY WITH THE
COMPUTER GLITCH.

MS. MACEOIN: AND FRIDAY.

MS. NEWTON: THAT'S TRUE, WE ENDED EARLY
ON FRIDAY.

THE COURT: SO TEN HOURS. THEY CAN GO
BACK AND THEY CAN CONTINUE, UNLESS THERE IS A MOTION TO
BE MADE HERE.

MS. MACEOIN: I DON'T HAVE A MOTION.

MS. HENRY: I MEAN, WE CAN WAIT UNTIL
4:00 OR WHATEVER, I GUESS.

THE COURT: WE WILL WAIT UNTIL 4:30.

MS. HENRY: LET'S DO THAT. DOES THAT
SOUND GOOD? AND THEN WE WILL CALL IT A DAY.

THE COURT: CALL IT A DAY OR CALL IT A
CASE.

MS. HENRY: I GUESS CALL IT A CASE.

MS. MACEOIN: YOUR HONOR, JUST SO YOU

KNOW, I HAVE TO CATCH A FLIGHT, SO I WILL BE LEAVING.
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OF COURSE I TRUST MS. HENRY HERE TO MAKE THE APPROPRIATE
DECISIONS. SO I APOLOGIZE FOR HAVING TO LEAVE BEFORE WE
REACH A VERDICT.

THE COURT: I AM SORRY YOU ARE, TOO.

MS. MACEOIN: BELIEVE ME, I AM, TOO.

THE COURT: ALL RIGHT, WE ARE IN RECESS.

(JURY CONTINUES TO DELIBERATE. )

THE COURT: OKAY, YOU MAY BE SEATED.

COUNSEL, BEFORE WE BRING THE JURY IN, I
WOULD LIKE TO HAVE ON THE RECORD BOTH DEFENSE COUNSEL
AND THE GOVERNMENT'S POSITION IN REGARDS TO A MISTRIAL.

FIRST THE DEFENSE.

MS. HENRY: YOUR HONOR, I AGREE WITH THE
DECISION TO LET THE JURY GO AT THIS POINT AND HAVE THE
CASE END IN A MISTRIAL.

MS. NEWTON: YOUR HONOR, THE GOVERNMENT
HAS NO OBJECTION TO THAT.

THE COURT: OKAY. I AM GOING TO BRING
THE JURORS OUT.

MS. HENRY: WE WOULD ASK IF WE CAN HAVE
PERMISSION TO SPEAK TO THE JURY AFTERWARDS.

THE COURT: IF THEY WISH TO SPEAK TO YOU.

MS. HENRY: OKAY.

THE COURT: I AM GOING TO BRING THEM OUT

AND QUESTION THEM INDIVIDUALLY.
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MS. HENRY: OKAY.

THE COURT: OKAY, KIM.

(JURY IN.)

THE COURT: OKAY, YOU MAY BE SEATED.

KIM IS GOING TO QUESTION YOU INDIVIDUALLY
FOR THE RECORD.

THE DEPUTY CLERK: JUROR NUMBER 1, PLEASE
RISE. DO YOU AGREE THAT THERE IS A HOPELESS DEADLOCK
WHICH CANNOT BE RESOLVED BY FURTHER DELIBERATIONS?

JUROR NO. 1: I DO.

THE DEPUTY CLERK: JUROR NUMBER 2, PLEASE
RISE. DO YOU AGREE THAT THERE IS A HOPELESS DEADLOCK
WHICH CANNOT BE RESOLVED BY FURTHER DELIBERATIONS?

JUROR NO. 2: I DO.

THE DEPUTY CLERK: THANK YOU.

JUROR NUMBER 3, PLEASE RISE. DO YOU
AGREE THAT THERE IS A HOPELESS DEADLOCK WHICH CANNOT BE
RESOLVED BY FURTHER DELIBERATIONS?

JUROR NO. 3: I DO.

THE DEPUTY CLERK: JUROR NUMBER 4, PLEASE
RISE. DO YOU AGREE THAT THERE IS A HOPELESS DEADLOCK
WHICH CANNOT BE RESOLVED BY FURTHER DELIBERATIONS?

JUROR NO. 4: YES, I DO.

THE DEPUTY CLERK: JUROR NUMBER 5, PLEASE

RISE. DO YOU AGREE THAT THERE IS A HOPELESS DEADLOCK
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WHICH CANNOT BE RESOLVED BY FURTHER DELIBERATIONS?

JUROR NO. 5: I Do.

THE DEPUTY CLERK: JUROR NUMBER 6, PLEASE
RISE. DO YOU AGREE THAT THERE IS A HOPELESS DEADLOCK
WHICH CANNOT BE RESOLVED BY FURTHER DELIBERATIONS?

JUROR NO. 6: I DO.

THE DEPUTY CLERK: THANK YOU.

JUROR NUMBER 7, PLEASE RISE. DO YOU
AGREE THAT THERE IS A HOPELESS DEADLOCK WHICH CANNOT BE
RESOLVED BY FURTHER DELIBERATIONS?

JUROR NO. 7: I DO.

THE DEPUTY CLERK: JUROR NUMBER 8, PLEASE
RISE. DO YOU AGREE THAT THERE IS A HOPELESS DEADLOCK
WHICH CANNOT BE RESOLVED BY FURTHER DELIBERATIONS?

JUROR NO. 8: I DO.

THE DEPUTY CLERK: THANK YOU.

JUROR NUMBER 9, PLEASE RISE. DO YOU
AGREE THAT THERE IS A HOPELESS DEADLOCK WHICH CANNOT BE
RESOLVED BY FURTHER DELIBERATIONS?

JUROR NO. 9: I DO.

THE DEPUTY CLERK: JUROR NUMBER 10,
PLEASE RISE. DO YOU AGREE THAT THERE IS A HOPELESS
DEADLOCK WHICH CANNOT BE RESOLVED BY FURTHER
DELIBERATIONS?

JUROR NO. 10: I Do.
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THE DEPUTY CLERK: JUROR NUMBER 11,
PLEASE RISE. DO YOU AGREE THAT THERE IS A HOPELESS
DEADLOCK WHICH CANNOT BE RESOLVED BY FURTHER
DELIBERATIONS?

JUROR NO. 11: I DO.

THE DEPUTY CLERK: JUROR NUMBER 12,
PLEASE RISE. DO YOU AGREE THAT THERE IS A HOPELESS
DEADLOCK WHICH CANNOT BE RESOLVED BY FURTHER
DELIBERATIONS?

JUROR NO. 12: I DO.

THE DEPUTY CLERK: THANK YOU.

THE COURT: THIS COURT CONCLUDES THAT A
MISTRIAL IS NECESSARY. I WILL DISCHARGE YOU, LADIES AND
GENTLEMEN. I WOULD LIKE TO THANK YOU FOR YOUR SERVICE
AS JURORS. I HOPE IT HAS BEEN AN INTERESTING EXPERIENCE
FOR YOU, BUT I HOPE THAT YOU HAVE LEARNED THAT OUR
SYSTEM CANNOT OPERATE UNLESS WE HAVE PEOPLE THAT ARE
WILLING TO TAKE TIME FROM THEIR SCHEDULES TO SERVE AS
JURORS IN THESE CASES. AGAIN, I WOULD LIKE TO THANK YOU
FOR YOUR SERVICE.

YOU ARE EXCUSED.

(JURY OUT.)

THE COURT: OKAY. SO A MISTRIAL HAVING
BEEN DECLARED, THIS CASE IS IN SUSPENSE UNTIL THE

GOVERNMENT DECIDES WHETHER OR NOT THEY WANT TO TRY THE
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DEFENDANT AGAIN.

MS.

INFORM THE COURT.

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DATE.

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YES, YOUR HONOR, WE WILL

DO YOU WANT US TO GIVE YOU A

DO WE WANT A DATE --

FOR STATUS.

CERTAINLY, YOUR HONOR.

WE WILL GIVE IT A 30-DAY

THANK YOU, YOUR HONOR.

CAN WE HAVE A DATE, KIM?

CLERK: MAY 15TH.

MAY 15TH.

CLERK: MAY 15TH.

CLERK: WHAT TIME?

10 O'CLOCK.

CLERK: MAY 15TH AT

COUNSEL: THANK YOU.

COURT:

OKAY, THANK YOU.

(COURT ADJOURNED. )
OY

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I CERTIFY THAT THE

FOREGOING IS A CORRECT TRANSCRIPT FROM THE

PROCEEDINGS IN THE ABOVE-ENTITLED MATTER.

ANA] |

DATE

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LYNN MCCLOSKEY,

RP

RECORD OF

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